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                              IN THE UNITED STATES BANKRUPTCY COURT
                                   FOR THE DISTRICT OF DELAWARE

In re:                                                                             Chapter 11

Sancilio Pharmaceuticals Company, Inc., et al.,1                                   Case No. 18-11333 (CSS)

                                       Debtors.                                    (Joint Administration Requested)


   MOTION OF THE DEBTORS FOR ENTRY OF ORDERS (I)(A) APPROVING BID
  PROCEDURES AND BID PROTECTIONS RELATING TO THE SALE OF ALL OR
       SUBSTANTIALLY ALL OF THE DEBTORS’ ASSETS, (B) ESTABLISHING
PROCEDURES IN CONNECTION WITH THE ASSUMPTION AND ASSIGNMENT OF
CERTAIN EXECUTORY CONTRACTS AND UNEXPIRED LEASES, (C) APPROVING
        NOTICE PROCEDURES, AND (D) GRANTING RELATED RELIEF; AND
 (II)(A) AUTHORIZING THE SALE OF SUBSTANTIALLY ALL OF THE DEBTORS’
 ASSETS FREE AND CLEAR OF LIENS, CLAIMS, ENCUMBRANCES, AND OTHER
      INTERESTS; (B) APPROVING THE ASSUMPTION AND ASSIGNMENT OF
    CERTAIN EXECUTORY CONTRACTS AND UNEXPIRED LEASES RELATED
               THERETO; AND (C) GRANTING RELATED RELIEF

           The above-captioned debtors and debtors-in-possession (collectively, the “Debtors”), by

this Motion (the “Motion”) and pursuant to sections 105(a), 363 and 365 of title 11 of the United

States Code, 11 U.S.C. §§ 101, et seq. (the “Bankruptcy Code”), Rules 2002, 6004, 6006 and

9014 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”) and Rules 2002-1

and 6004-1 of the Local Rules of Bankruptcy Practice and Procedure of the United States

Bankruptcy Court for the District of Delaware (the “Local Rules”), seek entry of an order,

substantially in the form annexed hereto as Exhibit A (the “Bid Procedures Order”):

(a) approving the bid procedures and bid protections in the form annexed as Exhibit 1 to the Bid

Procedures Order (as amended or modified, the “Bid Procedures”) to be implemented in

connection with a sale (the “Sale”) of all or substantially all of the Debtors’ assets (the


1 The Debtors in these Chapter 11 Cases, along with the business addresses and the last four (4) digits of each Debtor’s federal tax identification
number, if applicable, are: Sancilio Pharmaceuticals Company, Inc., 2129 N. Congress Avenue, Riviera Beach, FL 33404 (3353); Sancilio &
Company, Inc., 2129 N. Congress Avenue, Riviera Beach, FL 33404 (7166); Blue Palm Advertising Agency, LLC, 2129 N. Congress Avenue,
Riviera Beach, FL 33404 (n/a).
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“Assets”); (b) establishing procedures in connection with the Debtors’ assumption and

assignment to the Successful Bidder or Backup Bidder (as such terms are defined below) of

certain executory contracts and unexpired leases (each an “Assigned Contract” and,

collectively, the “Assigned Contracts”) and the allowance of corresponding cure amounts (the

“Cure Amounts”) to be paid in connection with such assumption and assignment; (c) approving

the notice procedures (the “Notice Procedures”) to advise parties in interest and Potential

Bidders (as defined below) of the Bid Procedures, the auction of the Assets (the “Auction”), the

sale hearing for the Assets (the “Sale Hearing”), and the Debtors’ intent to assume and assign to

the Successful Bidder or Backup Bidder the Assigned Contracts and the alleged amount of the

corresponding Cure Amounts; and (d) granting related relief. Additionally, the Debtors seek

entry of an order (the “Sale Order”): (a) authorizing the Sale of the Assets free and clear of

liens, claims, encumbrances and other interests, except as provided in a Purchase Agreement (as

defined below); (b) approving the assumption and assignment of the Assigned Contracts; and (c)

granting relief related relief. In support of this Motion, the Debtors respectfully state as follows:

                                        Status of the Case

       1.      On June 5, 2018 (the “Petition Date”), the Debtors commenced these cases (the

“Chapter 11 Cases”) by filing voluntary petitions for relief under chapter 11 of the Bankruptcy

Code in the United States Bankruptcy Court for the District of Delaware (the “Court”).

       2.      The Debtors have continued in possession of their properties and are operating

and managing their businesses as debtors-in-possession pursuant to sections 1107(a) and 1108 of

the Bankruptcy Code.

       3.      No request has been made for the appointment of a trustee or examiner and a

creditors’ committee has not yet been appointed in these Chapter 11 Cases.




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                         Jurisdiction, Venue and Statutory Predicates

       4.      The Bankruptcy Court has jurisdiction over this Motion pursuant to 28 U.S.C.

§§ 157 and 1334. This matter is a core proceeding within the meaning of 28 U.S.C. § 157(b)(2).

Venue is proper under 28 U.S.C. §§ 1408 and 1409.

       5.      The statutory predicates for the relief requested herein are sections 105(a), 363

and 365 of the Bankruptcy Code, Bankruptcy Rules 2002, 6004, 6006 and 9014 and Local Rules

2002-1 and 6004-1.

                                           Background

       6.      Sancilio is a private pharmaceutical development and manufacturing company.

Its business is comprised of multiple business lines including: (i) the development of proprietary

prescription medicines using a unique and proprietary solubility enhancement technology called

Advanced Lipid Technologies (“ALT”) including Sancilio’s lead product candidate under the

ALT platform for the treatment of sickle cell disease in the pediatric population; (ii) over-the-

counter and behind-the-counter omega-3 dietary supplements under the brand “Ocean Blue”; (iii)

prenatal vitamins and dental health supplements that operate as “generics” dispensed at

pharmacies; and (iv) third-party development and manufacturing services for other companies.

       7.      In 2017, Sancilio began experiencing increasingly constrained access to additional

capital and liquidity and, by late 2017, endured a liquidity crisis. In early 2018, Sancilio secured

an additional $5.5 million in equity capital to serve as bridge financing to pay overdue trade

payables pending an expected sale of the company, but that transaction was not consummated.

Accordingly, Sancilio began exploring its strategic alternatives including a further

recapitalization, refinancing or sale.     Notwithstanding these efforts, Sancilio received no

executable offer for recapitalization or refinancing.




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           8.         Since mid-April the Debtors’ liquidity needs have been met from protective

overadvances funded by their prepetition lenders.                                        Having no executable path to a

recapitalization or refinancing, the Debtors’ commenced these cases to preserve themselves as a

going concern and to maximize the value of their estates. The Debtors’ objectives in these

Chapter 11 Cases are to sell all or substantially all their assets pursuant to section 363 of the

Bankruptcy Code in a flexible manner allowing for bids on all their assets, one or more of their

business lines, or any combination thereof.

           9.         A detailed factual background of the Debtors’ business and operations, as well as

the events precipitating the commencement of these Chapter 11 Cases, is more fully set forth in

the Declaration of Geoffrey Glass in Support of the Debtors’ Chapter 11 Petitions and Requests

for First Day Relief (the “First Day Declaration”), filed contemporaneously herewith and

incorporated herein by reference.2

                                                           Sale of the Assets

           10.        As more fully set forth in the First Day Declaration, the Debtors’ business is

comprised of multiple business lines. The objective in these Chapter 11 Cases is to sell the

Debtors’ Assets pursuant to section 363 of the Bankruptcy Code in a flexible manner allowing

for bids on all their assets, one or more of their business lines, or any combination thereof. To

that end, before the Petition Date, the Debtors obtained two stalking horse bids.

                                               The MidCap Stalking Horse Bid

           11.        The Debtors have entered into that certain Asset Purchase Agreement, dated as of

June 5, 2018 (the “MidCap Purchase Agreement”), by and between the Debtors and MidCap

Funding Trust XIII, or its designee, as stalking horse bidder (the “MidCap Stalking Horse


2 Unless otherwise stated, capitalized terms used but not defined in this Motion have the meaning ascribed to the in the First Day Declaration.




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Bidder”). The MidCap Stalking Horse is an affiliate of the DIP Agent, the DIP Lenders and the

Prepetition Secured Parties, and is a holder of approximately 1% of the Debtors’ equity. The

MidCap Purchase Agreement provides for the purchase of substantially all of the Debtors’

Assets, except the Assets related to the Ocean Blue Line of omega-3 fish oil supplements (as

more fully set forth in KD Purchase Agreement (defined below)). As more fully set forth

therein, the MidCap Purchase Agreement provides for a credit bid in an amount not less than

$15,000,000, with the amount of the credit bid to be fixed no later than two (2) Business Days

after entry of the Bidding Procedures Order, subject to higher and better bids at the Auction (the

“MidCap Stalking Horse Bid”). A credit bid in an amount less than the entire amount of the

DIP Obligations and Prepetition Obligations is intended to increase interest in the Auction and

attract competing bids. A copy of the MidCap Purchase Agreement is attached hereto as Exhibit

B.

                                  The KD Stalking Horse Bid

       12.     The Debtors have also entered into an Asset Purchase Agreement, dated June 5,

2018 (the “KD Purchase Agreement”; together with the MidCap Purchase Agreement, the

“Purchase Agreements”, and each a “Purchase Agreement”), by and between the Debtors and

K.D. Pharma Bexbach GmbH, or its designee, as stalking horse bidder (the “KD Stalking Horse

Bidder”; together with the MidCap Stalking Horse, the “Stalking Horse Bidders”, and each a

“Stalking Horse Bidder”). The KD Stalking Horse Bidder is a holder of approximately 12% of

the Debtors’ equity. Its Chief Executive Officer served on the Board of Directors of the Debtors

before the Debtors’ acceptance of the KD Stalking Horse Bid. In addition, the KD Stalking

Horse Bidder is a joint venture by which K.D. Pharma Bexbach GmbH is the majority investor

with a minority investment being made by both John Licari and Anthony Valetutti, current




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employees of the Debtors and managers relating to the Ocean Blue Line. As more fully set forth

therein, the KD Purchase Agreement provides the purchase of the Ocean Blue Line in exchange

for cash consideration in the amount of $2,500,000, subject to higher and better offers at the

Auction (the “KD Stalking Horse Bid”; together with the MidCap Stalking Horse Bid, the

“Stalking Horse Bids”). A copy of the KD Purchase Agreement is attached hereto as Exhibit

C.

                         The Proposed Marketing, Auction and Sale

       13.    Now that the Debtors have obtained the Stalking Horse Bids they desire to

conduct an in-court marketing process culminating in the Auction and Sale of the Assets. The

Debtors have retained, subject to the Court’s approval, the investment banking services of

Cassel, Salpeter & Co., LLC (“Cassel Salpeter”), to advise and assist the Debtors in marking the

Assets and conducting the Auction and Sale. Cassel Salpeter is an independent investment

banking firm that assists middle-market and emerging growth companies across a broad

spectrum of industries. Cassel Salpeter has provided investment banking and other services in

connection with the restructuring or sale of the following companies: NephroGenex, Inc.

(Nasdaq:NRX), Dynavox, Inc. (OTCPK:DVOX.Q), Gulfstream International Airlines,

Electrolytic Technologies Corporation, Brijot Millimeter Wave Technologies, Corp., HeathStar

Communications, Inc., HC Innovations, Inc., Stant Corp., AFP Imaging Corp., Nailite

International, Inc., OMI Medical Imaging, Nitram, Inc., and uniDigital, Inc. Cassel Salpeter’s

professionals are also providing or have provided mergers and acquisitions advisory services in

connection with whole or partial company sale transactions involving companies across a wide

range of industries, including pharmaceuticals. The Debtors propose the following schedule for




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completing the marketing and sale process in these Chapter 11 Cases and conducting the Auction

and Sale pursuant to section 363:

Event or Deadline                                Date and Time

                                                 July 16, 2018 at 5 pm ET
Bid Deadline (including for any credit bids)
                                                 (2 days before proposed auction date)

                                                 July 13, 2018 at 4 pm ET
Deadline to Object to Sale                       (4 Business Days before proposed July 19
                                                 Sale Hearing)

                                                 June 13, 2018 at 4 pm ET
Contract Objection Deadline (for all
                                                 (4 Business Days before proposed July 19
objections other than adequate assurance)
                                                 Sale Hearing)

                                                 July 17, 2018 at Noon
Selection of Qualified Bidder
                                                 (one day before proposed auction date)

                                                 July 18, 2018 at 10 am ET
Auction
                                                 (1 day before proposed July 19 Sale Hearing)

Deadline to File Notice Designating              Immediately upon identifying and determine
Successful Bidder                                the Successful Bidder

Deadline to Object to Adequate Assurance of
Future Performance and Raise Any                 Up to the commencement of the Sale Hearing
Additional Cure Cost Objections

Sale Hearing (subject to the Court’s             July 19, 2018 at a time to be determined by
availability)                                    the Bankruptcy Court

       14.     The Debtors and their financial advisors believe that this schedule for marketing

the Assets and conducting the Auction and Sale will fully test the market for the Assets.

                                        Relief Requested

       15.     By this Motion, the Debtors seek entry of the Bid Procedures Order (a) approving

the Bid Procedures; (b) establishing procedures with respect to the assumption and assignment of

executory contracts and leases, (c) approving the proposed Notice Procedures; and (d) granting

related relief. Further, the Debtors seek entry of the Sale Order (a) authorizing the sale of the


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Assets free and clear of all liens, claims, encumbrances and other interests, except as provided in

a Purchase Agreement; (b) approving the assumption and assignment of certain of the Debtors’

executory contracts and unexpired leases; and (c) granting relief related relief.

         A.       The Bid Procedures

         16.      The Debtors’ proposed Bid Procedures are intended to establish a sale process

that will maximize the value of the Assets for the benefit of the Debtors’ estates and their

creditors. The Debtors will solicit bids for the Assets in accordance with such Bid Procedures

and, if Qualified Bids (as defined below) are received in conformance with the Bid Procedures,

the Debtors will conduct the Auction to determine the highest or otherwise best bid for the

Assets. Specifically, the Bid Procedures provide, in relevant part, as follows:3


         A.       Qualified Bidders, Non-Disclosure Agreements and Access to Data Room.

                Any person or entity wishing to bid on the Assets must execute and deliver
         (unless previously delivered) to the Debtors a confidentiality and non-disclosure
         agreement (a “Non-Disclosure Agreement”) in form and substance acceptable to the
         Debtors and, at the Debtors’ request, provide financial information that demonstrates
         such person or entity’s ability to submit a bid that complies with the requirements herein
         and the Bid Procedures Order (each a “Potential Bidder”)

                The Debtors, in their discretion, will afford a Potential Bidder due diligence
         access or such additional information as may be reasonably requested by the Potential
         Bidder that the Debtors, in their business judgment, determine to be reasonable and
         appropriate, including, without limitation, access to the Debtors’ confidential electronic
         data room, reasonable access, during normal business hours, to the Debtors’
         management, and access to all relevant information regarding the Assets reasonably
         necessary to enable a Potential Bidder to evaluate the proposed Sale; provided that any
         such Potential Bidder has delivered evidence to the Debtors of its financial wherewithal
         and ability to consummate the Sale, the adequacy of which will be assessed by the
         Debtors in their sole discretion. Cassel Salpeter will coordinate all due diligence access
         and requests for additional information from such Potential Bidders. The Debtors shall
         not be obligated to furnish any due diligence information after the conclusion of the

3 This description of the Bid Procedures includes excerpts from the terms set forth in the Bid Procedures annexed
hereto. Capitalized terms used but not defined in this section have the meanings ascribed to them in the Bid
Procedures. To the extent that this description differs in any way from the terms set forth in the Bid Procedures, the
terms of the Bid Procedures shall control.



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Auction other than to the Successful Bidder(s) (defined below) or any Backup Bidder(s)
(as defined below). None of the Debtors, their counsel or their advisors are responsible
for, or will bear liability with respect to, any information obtained by Potential Bidders in
connection with due diligence. Notwithstanding anything contained herein to the
contrary, to the extent the Debtors believe that providing access to Potential Bidders to
certain sensitive commercial information is not advisable, the Debtors, in their business
judgment, will decide what, if any, diligence information to make available to a particular
Potential Bidder, and neither the Debtors nor their representatives will be obligated to
furnish any information of any kind whatsoever to any party.

         A “Qualified Bidder” is any Potential Bidder that (a) delivers to the Debtors a
Non-Disclosure Agreement, (b) demonstrates to the Debtors a reasonable certainty of the
ability to close the Sale in a timely manner (including the (i) financial capability to close
the Sale and provides adequate assurance of future performance to counterparties to
contracts to be assumed and assigned to such Potential Bidder, and (ii) the ability to
obtain necessary governmental, licensing, regulatory, or other approvals necessary for
such Sale, if any), and (c) submits a Written Offer (as defined below) that is deemed a
Qualified Bid as set forth below. As promptly as practicable after a Potential Bidder
delivers a Non-Disclosure Agreement and submits a Written Offer, and in any event not
later than 12:00 p.m. (prevailing Eastern Time) one (1) day preceding the Auction, the
Debtors shall determine, and the Debtors shall notify the Potential Bidder in writing,
whether the Potential Bidder is a Qualified Bidder. Each Potential Bidder shall comply
with all reasonable requests for information and due diligence access by the Debtors or
their advisors regarding the ability of such Potential Bidder to consummate the proposed
Sale. Each of the Stalking Horse Bidders shall be deemed a Qualified Bidder who has
submitted a Qualified Bid (as defined below).

B.     Requirements for a Qualified Bid.

       In order to become a Qualified Bidder and participate in the Auction, if any, a
Potential Bidder must deliver to the Debtors, with a copy to counsel to the Debtors and
Cassel Salpeter, a written offer (each, a “Written Offer”) that must meet each of the
requirements listed below (each such bid, a “Qualified Bid”):

            i. Delivery: Be delivered no later than 5:00 p.m. (prevailing Eastern Time)
               on the Bid Deadline.

           ii. Executed Agreement: Be accompanied by (a) a clean asset purchase
               agreement, duly executed and delivered by such Qualified Bidder
               enforceable against such Qualified Bidder in accordance with its terms
               (together with the exhibits, a “Bid Purchase Agreement”); and (b) a
               marked Bid Purchase Agreement(s) reflecting any variations from the
               applicable Purchase Agreement(s), if any.

          iii. Assumed Liabilities: Provide for the assumption of at least the same
               assumed liabilities as set forth in the applicable Purchase Agreement, to




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       the extent such Qualified Bid is for the Assets under the applicable
       Purchase Agreement.

   iv. Designation of Assigned Contracts and Leases and Adequate Assurance of
       Future Performance: Contain a list of any and all executory contracts or
       unexpired leases that are to be assumed and assigned in connection with a
       Sale. The Potential Bidder must also include written documentation
       sufficient to demonstrate the Potential Bidder’s ability to provide adequate
       assurance of future performance for the benefit of the non-Debtor parties
       to such executory contracts or unexpired leases on the list, including,
       without limitation, (a) the specific name of the entity to whom such
       executory contracts or unexpired leases will be assigned; (b) if available,
       audited financial statements and annual reports of the proposed assignee
       for the past three (3) years, including all supplements or amendments
       thereto, and, if not available, the latest unaudited financial statements and
       such other relevant financial information as may be requested from the
       Debtors, if any; (c) cash flow projections for the proposed assignee, the
       proposed assignee’s most recent business plan, all cash flow projections
       for the executory contracts or unexpired leases subject to the assignment
       request, and any financial projections, calculations and/or pro formas
       prepared in contemplation of purchasing the assets, including the contracts
       and leases; (d) all documents and other evidence of the proposed
       assignee’s experience in the Debtors’ industry; and (e) a contact person for
       the proposed assignee whom non-debtor parties may contact directly in
       connection with adequate assurance of future performance. Should the
       Potential Bidder and/or proposed assignee be a newly formed entity (a
       “Newco”), written evidence of adequate assurance of future performance
       should also include when such Newco was formed, how it will be financed
       together with evidence of firm financial commitments, and identify what
       credit enhancements will be available to guarantee the obligations of the
       Newco under the executory contracts or unexpired leases to be assigned.
       Non-debtor parties to the executory contracts or unexpired leases proposed
       to be assumed and assigned will have until the commencement of the Sale
       Hearing to object on adequate assurance grounds.

   v. Proof of Financial Ability to Perform: Contain evidence of financing,
      access to funds or such other financial and other information that will
      reasonably allow the Debtors to make a determination as to such Qualified
      Bidder’s financial and other capabilities to consummate the transactions
      contemplated by the Written Offer, which evidence is satisfactory to the
      Debtors, in timely consultation with the DIP Agent, including, without
      limitation, such financial and other information setting forth adequate
      assurance under section 365 of the Bankruptcy Code in a form requested
      by the Debtors. In addition, with respect to any Newco, the bid must
      include current audited (if available) and the latest unaudited financial
      statements and/or such other relevant financial information as may be
      requested by the Debtor, including information regarding the major equity


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       holders or financial sponsors of such entity evidencing the Newco’s ability
       to consummate the transactions contemplated by the Written Offer, which
       evidence must be satisfactory to the Debtors, in timely consultation with
       the DIP Agent.

   vi. Identification of Parties to Participate: To the Debtors’ satisfaction,
       (a) fully disclose the identity of each entity or person that will be bidding
       for the Assets or otherwise participating in connection with such bid and
       such entity or person’s relationship, affiliation or connection, if any, to the
       Debtors or the Stalking Horse Bidders, (b) the terms of any such
       participation, and if an entity has been formed for the purpose of acquiring
       some, or all, of the Assets, the parties that will bear liability for any breach
       by such entity, and (c) the ability of such parties to obtain government,
       licensing or regulatory approval in connection with the consummation of
       any Sale.

  vii. Binding and Irrevocable: State that the Written Offer is binding and
       irrevocable until (a) the closing of the Sale, if such Potential Bidder is
       deemed a Qualified Bidder, and such Qualified Bidder is designated as a
       Successful Bidder (as defined below), or (b) if such Potential Bidder is
       deemed a Qualified Bidder, and such Qualified Bidder is designated as a
       Backup Bidder (as defined below), until the earlier of (x) the date of
       closing of the transaction(s) by which all of the Assets that were subject to
       such Backup Bid (as defined below) have been transferred to one or more
       Qualified Bidders pursuant to these Bid Procedures and the Bid
       Procedures Order and (y) and ten (10) Business Days following the date
       the order approving the sale of the Purchased Assets to the Successful
       Bidder shall have become a become a final, non-appealable, order (“Final
       Order”) (the “Backup Bid Expiration Date”); provided, that if such
       Successful Bidder shall fail to close on its purchase of the Assets prior to
       the Backup Bid Expiration Date, such Backup Bid shall continue to
       remain open and irrevocable, the Backup Bidder shall be deemed to be the
       Successful Bidder, and it shall close on the Sale within ten (10) Business
       Days of becoming the Successful Bidder.

  viii. No Break-Up Fee or Expense Reimbursement: Not request or entitle the
        Potential Bidder to any transaction or break-up fee, expense
        reimbursement, or similar type of payment; provided, however, that each
        Purchase Agreement with the applicable Stalking Horse Bidder shall
        contain a break-up fee and expense reimbursement, as approved in the Bid
        Procedures Order.

   ix. Authorization to Consummate Sale: Provide evidence of authorization
       and approval from the Potential Bidder’s board of directors (or
       comparable governing body), if any, with respect to the submission,
       execution, delivery and closing of the Bid Purchase Agreement to the
       Debtors’ satisfaction.


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   x. Purchase Price: Provide that the purchase price shall be paid in full at the
      closing of the Sale in U.S. dollars and in cash. Provide further:

          1. If the Bid Purchase Agreement offers to buy the Assets set forth in
             the MidCap Purchase Agreement, then the Purchase Price must be
             equal to or more than: (i) the Purchase Price stated in section 2.5
             therein (less the “Cash Amount” referenced therein, if any), plus
             (ii) the sum of (x) a break-up fee equal to three percent (3%) of the
             Purchase Price (the “MidCap Break-Up Fee”) and (y) an expense
             reimbursement up to $1,000,000 of actual, reasonable and
             documented expenses of the MidCap Stalking Horse Bidder (the
             “MidCap Expense Reimbursement”), plus (iii) a minimum
             overbid amount of $250,000, the sum of the foregoing (the
             “MidCap Minimum Overbid Amount”). Not later than two (2)
             Business Days following the entry of the Bidding Procedures
             Order, the MidCap Stalking Horse Bidder will confirm the then
             current dollar amount of the Purchase Price (excluding the Cash
             Amount), which shall not be less than $15,000,000, in writing to
             the Debtors, which amount shall be subject to adjustment.

          2. If the Bid Purchase Agreement offers to buy the Assets set forth in
             the KD Purchase Agreement, then the Purchase Price must be
             equal to or more than: (i) the Purchase Price stated in section 3.01
             therein ($2,500,000), plus (ii) the sum of (x) a break-up fee in the
             amount of $75,000 (the “KD Break-Up Fee”; collectively with the
             MidCap Break-Up Fee, the “Break-Up Fee”) and (y) an expense
             reimbursement up to $100,000 of the actual, reasonable and
             documented expenses of the KD Stalking Horse Bidder (the “KD
             Expense Reimbursement”; collectively, with the MidCap
             Expense Reimbursement, the “Expense Reimbursement”), plus
             (iii) a minimum overbid amount of $100,000, which in the
             aggregate is a minimum overbid amount of $2,775,000 (the “KD
             Minimum Overbid Amount”).

          3. If the Bid Purchase Agreement offers to buy all the Assets, then
             the Purchase Price must be equal to or more than sum of the
             MidCap Minimum Overbid Amount and the KD Minimum
             Overbid Amount.

          4. If the Bid Purchase Agreement offers to buy another combination
             of the Assets, then the Debtors, in timely consultation with
             MidCap Funding XVIII Trust, as administrative agent (in such
             capacity, the “DIP Agent”) under that certain Debtor in Possession
             Credit and Security Agreement, dated June 5, 2018 (the “DIP
             Loan Agreement”), shall determine whether the Purchase Price is
             a qualifying minimum overbid.



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          xi. Good Faith Deposit: Provide a good faith cash deposit (the “Good Faith
              Deposit”) submitted via federal wire transfer in immediately available
              funds in accordance with the wire instructions to be provided by the
              Debtors, or such other form as is acceptable to the Debtors, in an amount
              equal to 10% of the cash purchase price set forth in the Written Offer.
              The Good Faith Deposit shall be held in a non-interest bearing escrow
              account to be identified and established by the Debtors.

         xii. Anticipated Timeline: If applicable, set forth the anticipated timeframe
              for obtaining any required government, regulatory or other approvals
              within the requirements of subparagraph (xvii) below.

         xiii. Agreement with Bid Procedures and Provision of Additional Information:
               Include a written acknowledgement by such Potential Bidder that it (a)
               agrees to the terms of the Bid Procedures; and (b) agrees to provide such
               other information as may be reasonably requested in writing by the
               Debtors prior to the Auction.

         xiv. Transition Services. Set forth whether the Potential Bidder will require
              transition services from the Debtors for the Assets and, if so, for what
              period of time and proposed economic terms.

         xv. No Financing, Approval or Diligence Outs. Include a written statement
             that the bid is not conditioned on obtaining any of the following: (a)
             financing; (b) board of directors or other similar approval; or (c) the
             outcome or completion of a due diligence review by the Potential Bidder.
             The presence of any governmental, licensing, regulatory or other
             approvals or consents in a bid or other contingencies, and the anticipated
             timing or likelihood of obtaining such approvals or consents or resolving
             such contingencies, may be grounds for the Debtors, in timely
             consultation with the DIP Agent, to determine that such bid (i) is not a
             Qualified Bid or (ii) is not higher or otherwise better than any other
             Qualified Bid.

         xvi. Consent to Jurisdiction. The Potential Bidder must submit to the
              jurisdiction of the Bankruptcy Court and waive any right to a jury trial in
              connection with any disputes relating to Debtors’ and consent to the entry
              of a final order or judgment in any matter related to qualification of bids,
              the Auction, the construction and enforcement of these Bidding
              Procedures, and the Sale documents and the Closing, as applicable.

        xvii. Closing Date: As promptly as possible, but in no event later than twelve
              (12) Business Days after entry of the Sale Order or the outside date for
              closing in the respective Purchase Agreements.

        Between the Bid Deadline and the Auction, the Debtors may (i) negotiate or seek
clarification of any Qualified Bid from a Qualified Bidder, (ii) request information from



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the Qualified Bidder, (iii) engage in discussions with the Qualified Bidder, or (iv) take
such other actions contemplated under these Bid Procedures. Without the consent of the
Debtors, a Qualified Bidder may not amend, modify or withdraw its Written Offer. Any
Good Faith Deposit accompanying a Written Offer that the Debtors determine not to be a
Qualified Bid shall be returned promptly following such determination.

        The Debtors may (and, at the request of the DIP Agent, shall) request additional
information from a Potential Bidder or Qualified Bidder at any time prior to the Auction
in order to evaluate such bidder’s ability to bid at the Auction over and above its initial
offer in its Qualified Bid, consummate the Sale, and fulfill its obligations in connection
therewith. Each Potential Bidder or Qualified Bidder shall be obligated to provide such
additional information within two (2) Business Days of receiving such requests as a
condition to participating further in the Auction and Sale processes; provided, however,
that additional information requests made by the Debtors during the Auction, of in the
two (2) Business Day period before the Auction, in connection with a Qualified Bidder’s
ability to continue to bid at the Auction over and above its initial offer in its Qualified
Bid shall be satisfied prior to such Qualified Bidder submitting any further bids at the
Auction. The Debtors shall determine in their sole discretion whether a Potential Bidder
or Qualified Bidder has complied with such request. The failure to comply with such
requests shall disqualify such Potential Bidder or Qualified Bidder.

C.     Bid Deadline.

       All Qualified Bids must be received by each of the parties listed below prior to
the Bid Deadline.

       Debtors:               Geoffrey Glass
                              Sancilio Pharmaceuticals Company, Inc.
                              2129 N. Congress Avenue
                              Riviera Beach, FL 33404
                              email: gglass@sancilio.com

       Debtors’ Counsel:      Paul J. Keenan Jr.
                              Greenberg Traurig, LLP
                              333 S.E. 2nd Avenue
                              Suite 4400
                              Miami, Florida 33131
                              e-mail: keenanp@gtlaw.com

       Debtors’ Investment Cassel Salpeter & Co.
       Banker              801 Brickell Avenue
                           Suite 1900
                           Miami, Florida 33131
                           Attn: James S. Cassel
                           e-mail: jcassel@cs-ib.com




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        The Debtors will promptly (but, in any case, within one (1) calendar day) deliver,
after receipt thereof, copies of all Written Offers to counsel for the DIP Agent; provided
that Written Offers received on the Bid Deadline shall be delivered to the DIP Agent on
such date.

D.      Determination of Qualified Bidders.

        The Debtors, after timely consultation with the DIP Agent, shall, by no later than
12:00 p.m. (prevailing Eastern Time) one (1) day prior to the Auction, (i) determine, in
their business judgment, whether a Potential Bidder is a Qualified Bidder, (ii) notify each
such Potential Bidder that its Written Offer is a Qualified Bid and that such Potential
Bidder is a Qualified Bidder; and (iii) provide a copy of the Opening Qualified Bid
(defined below) to each Qualified Bidder.

     E. “As Is, Where Is”.

        Except as otherwise provided in the Final Purchase Agreement (as defined
below), the Sale of the Assets shall be on an “as is, where is” basis and without
representations or warranties of any kind, nature or description by the Debtors or their
estates except to the extent set forth in the Final Purchase Agreement as approved by the
Bankruptcy Court. Except as otherwise provided in the Final Purchase Agreement, all of
the Debtor’s right, title and interest in and to the Assets shall be sold free and clear of all
liens, claims, interests and encumbrances (collectively, the “Interests”) in accordance
with sections 363 and 365 of the Bankruptcy Code, with such Interests to attach to the net
proceeds of the Sale of the Assets.

         Each Qualified Bidder shall be deemed to acknowledge and represent that it has
had an opportunity to conduct any and all desired due diligence regarding the Assets prior
to making its Qualified Bid, that it has relied solely upon its own independent review,
investigation and inspection of any documents and/or the Assets in making its Qualified
Bid, and that it did not rely upon any written or oral statements, representations,
promises, warranties or guaranties whatsoever, whether express, implied, by operation of
law or otherwise, regarding the Assets, or the completeness of any information provided
in connection therewith or the Auction, except as expressly stated in the Bid Procedures
or, as to the Successful Bidder(s) and the Backup Bidder(s), the terms of the Sale(s) as set
forth in the final form of the applicable Bid Purchase Agreement(s) (the “Final Purchase
Agreement”) which shall be on terms mutually acceptable to the Successful Bidder(s)
and Backup Bidder(s), on the one hand, and the Debtors, on the other hand.

F.      Auction.

       If the Debtors have determined that there are one or more Qualified Bidders in
addition to the Stalking Horse Bidders, the Debtors shall conduct an Auction to determine
the highest and otherwise best Qualified Bid. This determination shall take into account
any factors the Debtors, in their business judgment, after timely consultation with the DIP
Agent, reasonably deem relevant and may include, among other things, the following: (i)
the amount and nature of the consideration; (ii) the number, type and nature of any



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changes to the Purchase Agreement requested by a Qualified Bidder in its respective Bid
Purchase Agreement; (iii) the extent to which such modifications are likely to delay
closing of the Sale of the Assets and the cost to the Debtors of such modifications or
delay; (iv) the total consideration to be received by the Debtors; and (v) the likelihood of
the Qualified Bidder’s ability to close the Sale and the timing thereof.

        The Auction shall commence at 10:00 a.m. (prevailing Eastern Time) on July
[18], 2018, at the offices of Greenberg Traurig, LLP, MetLife Building, 200 Park
Avenue, New York, New York 10166, or such other place as determined by the Debtors,
in timely consultation with the DIP Agent, and continue thereafter until completed. The
Debtors, after timely consultation with the DIP Agent, reserve the right to cancel or
postpone the Auction.

       Except as otherwise permitted in the Debtors’ discretion, only the Debtors, the
DIP Agent and DIP lenders, the Qualified Bidders, and any creditor or landlord that
submits a written request to attend to the Debtors in advance of the Auction, and, in each
case, their respective professionals shall be entitled to attend the Auction. Only a
Qualified Bidder is eligible to participate in the Auction.

       The Auction shall be governed by the following procedures:

          i.   Qualified Bidders shall appear in person at the Auction, or through a duly
               authorized representative.

         ii.   The Debtors, after consultation with the DIP Agent, may waive and/or
               employ and announce at the Auction additional rules that are reasonable
               under the circumstances for conducting the Auction provided that such
               rules are (i) not inconsistent with the Bid Procedures Order, the
               Bankruptcy Code, the Bankruptcy Rules, the Local Rules of Bankruptcy
               Practice and Procedure of the United States Bankruptcy Court for the
               District of Delaware, or any order of the Bankruptcy Court entered in
               connection with these Chapter 11 Cases, (ii) disclosed to each Qualified
               Bidder, and (iii) designed, in the Debtors’ business judgment, to result in
               the highest and otherwise best offer for the Assets.

        iii.   The Debtors will arrange for the actual bidding at the Auction to be
               transcribed. Each Qualified Bidder shall designate a single individual to
               be its spokesperson during the Auction.

        iv.    Each Qualified Bidder participating in the Auction must confirm on the
               record, at the commencement of the Auction and again at the conclusion
               of the Auction that it has not engaged in any collusion with the Debtors or
               any other Qualified Bidder regarding these Bid Procedures, the Auction or
               any proposed transaction relating to the Assets.

         v.    Prior to the Auction, which shall be conducted in two stages, the Debtors
               shall identify the highest and best of the Qualified Bids received (the
               “Opening Qualified Bid”). The Assets subject to the KD Purchase


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         Agreement shall be offered for Auction first followed by the Assets
         subject to the MidCap Purchase Agreement. The first overbid at the
         Auction shall be the amount of the Opening Qualified Bid for such Assets
         plus $250,000. Thereafter, a Qualified Bidder may increase its Qualified
         Bid in any amount as long as each subsequent bid (each, a “Subsequent
         Overbid”) exceeds the previous highest bid by at least $250,000 of
         additional cash consideration.

  vi.    As set forth in Section 4 above, Qualified Bidders shall provide evidence
         of its financial wherewithal and ability to consummate the Sale at the
         increased Purchase Price presented during the Auction. Each bid made by
         a Qualified Bidder at the Auction must continue to meet, satisfy or comply
         with the requirements of a Qualified Bid, other than those applicable to the
         submission of an initial Qualified Bid.

 vii.    Other than the assumption of liabilities of the Debtors, all bids must be in
         cash.

 viii.   If a Stalking Horse Bidder bids at the Auction, it shall be entitled to a
         “credit bid” in the amount of the Break-Up Fee and Expense
         Reimbursement to be counted towards its bid, and, at its sole option, the
         MidCap Stalking Horse Bidder shall be entitled to reduce the amount of its
         credit bid in an amount equal to the final cash purchase price accepted by
         the Debtors at the Auction from the Successful Bidder for the assets
         subject to the KD Purchase Agreement; provided, however, neither
         MidCap Financial Trust, as agent on behalf of the Debtors’ prepetition
         secured lenders, or the MidCap Stalking Horse Bidder, in its capacity as
         DIP Agent on behalf of the lenders under the DIP Loan Agreement, may
         “credit bid” with respect to those Assets set forth in the KD Purchase
         Agreement.

  ix.    The Auction will continue with each Qualified Bidder submitting
         additional Subsequent Overbids in each round of bidding, after being
         advised of the terms of the then highest bid and the identity of the
         Qualified Bidder who made such bid, in each round of bidding. Each
         Qualified Bidder must bid in each round or it shall be disqualified from
         further bidding at the Auction. All Qualified Bidders shall have the right
         to, at any time, request that the Debtors use reasonable efforts to clarify
         any and all questions such Qualified Bidder may have regarding the
         Debtors’ announcement of the then-current highest and best bid.

   x.    All Qualified Bidders shall have the right to submit additional bids and
         make additional modifications to the Purchase Agreement or Bid Purchase
         Agreement, as applicable, at the Auction in accordance with the terms and
         provisions of these Bid Procedures, provided, however, that any such
         modifications to the Purchase Agreement or Bid Purchase Agreement, on
         an aggregate basis and viewed in whole, shall not be less favorable to the


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               Debtors as determined by the Debtors, in their business judgment, after
               timely consultation with the DIP Agent.

        xi.    Upon conclusion of the bidding, the Auction shall be closed, and the
               Debtors shall, as soon as practicable, after timely consultation with the
               DIP Agent, (a) identify and determine in their business judgment the
               highest and best Qualified Bid for the Assets (a “Successful Bid” and the
               entity or entities submitting such Successful Bid, the “Successful
               Bidder”), (b) advise the Qualified Bidders of such determination, (c)
               require the Successful Bidder(s) to deliver an executed Final Purchase
               Agreement, which reflects its bid and any other modifications submitted
               and agreed to during the Auction, and (d) file the Supplement (as defined
               below). In addition, the Debtors will determine, after timely consultation
               with the DIP Agent, which Qualified Bid, if any, is the next highest and
               best Qualified Bid to the Successful Bid, and will designate such Qualified
               Bid as a “Backup Bid” in the event the Successful Bidder fails to
               consummate the contemplated Sale. A Qualified Bidder who submitted a
               Qualified Bid and is designated a Backup Bid is a “Backup Bidder”.
               Each Backup Bid shall remain open and binding until the Backup Bid
               Expiration Date.

       xii.    Following the Auction, the Debtors will promptly file with the Bankruptcy
               Court a supplement (the “Supplement”) that will inform the Bankruptcy
               Court of the results of the Auction. The Supplement will identify, among
               other things, (a) the Successful Bidder, (b) the amount and form of
               consideration to be paid by the Successful Bidder, (c) the assumed
               liabilities to be assumed by the Successful Bidder, if any, (d) the executory
               contracts to be assumed by the Debtors and assigned to the Successful
               Bidder, or the Debtor’s rights and interests therein sold and transferred to
               the Successful Bidder, as the case may be, in connection with the Sale, and
               (e) the executory contracts designated by the Successful Bidder to be
               rejected by the Debtors in connection with the Sale. The Supplement will
               also include similar information relating to the Backup Bidder and the
               Backup Bid. In addition, the Debtors will attach to the Supplement (i) any
               revised proposed order approving the Sale to the Successful Bidder, (ii) a
               copy of the Final Purchase Agreement entered into by the Debtors and the
               Successful Bidder following the Auction, and (iii) any additional
               information or documentation relevant to the Successful Bid. The Debtors
               will file the Supplement on the docket for the chapter 11 cases as promptly
               as is reasonably practicable prior to the Sale Hearing, but will not be
               required to serve the same on any parties-in-interest in the chapter 11
               cases.

G.     Sole Qualified Bidder.

      If, by the Bid Deadline, there are no Qualified Bidders other than the Stalking
Horse Bidders, (i) the Debtors shall not hold an Auction, (ii) the bids represented by the


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Purchase Agreements shall be deemed the Successful Bids and the Stalking Horse
Bidders shall be deemed the Successful Bidders and (iii) the Debtors shall request at the
Sale Hearing that the Bankruptcy Court approve each Purchase Agreement from the
respective Stalking Horse Bidder.

H.     Sale Hearing.

       The Sale Hearing will be held before the Honorable Christopher S. Sontchi on
[●], 2018 at [● am/pm] (prevailing Eastern time), subject to the Court’s availability, at
the United States Bankruptcy Court for the District of Delaware, located in Courtroom
No. 6, 5th Floor, 824 Market Street, Wilmington, Delaware 19801. At the Sale Hearing,
the Debtors shall present the results of the Auction, if one is held, to the Bankruptcy
Court and seek approval of the Successful Bid(s) and any Backup Bid(s).

        Following the Sale Hearing and entry of a Sale Order approving the Sale of the
Assets to a Successful Bidder, if such Successful Bidder fails to consummate the Sale for
any reason, the Backup Bidder shall be designated the Successful Bidder and the Debtors
shall be authorized to close such Sale with the Backup Bidder without further order of the
Bankruptcy Court; provided, however, counterparties to any executory contracts or
unexpired leases for which a Backup Bidder is deemed the new Successful Bidder shall
receive written notice of the identity of the Backup Bidder being deemed the Successful
Bidder, and shall have seven (7) days to object to the Backup Bidder’s adequate
assurance of future performance under any Lease to be assumed and assigned, with the
Court to hold a subsequent hearing to determine any unresolved objections. The
Successful Bidder(s) and Backup Bidder(s) (if any) should be represented by counsel at
the Sale Hearing.

I.     Consummation of the Purchase.

       Closing Date; Good Faith Deposit

       The Successful Bidder(s) shall consummate the Sale(s) contemplated by the
Successful Bid(s) (the “Purchase”) on or before the Closing Date. If the Successful
Bidder(s) successfully consummates the Purchase by the Closing Date, such Successful
Bidder’s Good Faith Deposit shall be applied to the purchase price of the Purchase.

       If the Successful Bidder(s) either: fails to consummate the Purchase on or before
the Closing Date, breaches the Final Purchase Agreement, or otherwise fails to perform,
the Debtors shall, without further order of the Bankruptcy Court, deem such Successful
Bidder to be a “Defaulting Buyer”.

       The Debtors shall be entitled to retain the Good Faith Deposit as their sole and
exclusive remedy resulting from the breach or failure to perform by a Defaulting Buyer in
accordance with the terms of the Defaulting Buyer’s Purchase Agreement.

       Backup Purchaser.




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              Upon a determination by the Debtors that a Successful Bidder is a Defaulting
       Buyer, the Debtors shall consummate a Sale with the Backup Bidder on the terms and
       conditions of the Backup Bid (the “Backup Purchase”) without further order of the
       Bankruptcy Court.

               If the Backup Bidder consummates the Backup Purchase, the Good Faith Deposit
       of such Backup Bidder will be applied to the purchase price of the Backup Purchase. In
       the event that the Debtors seek to consummate the Backup Purchase with the Backup
       Bidder and such Backup Bidder fails to consummate the Backup Purchase, breaches the
       Final Purchase Agreement or otherwise fails to perform, the Debtors may, in their
       discretion, and without further order of the Bankruptcy Court, deem such Backup Bidder
       to be a Defaulting Buyer and shall be entitled to (i) retain the Good Faith Deposit as part
       of their damages resulting from the breach or failure to perform by the Defaulting Buyer,
       and (ii) seek all available damages from such Defaulting Buyer occurring as a result of
       such Defaulting Buyer’s failure to perform in accordance with the terms of the Purchase
       Agreement or Bid Purchase Agreement, as applicable.

       J.     Return of Good Faith Deposits.

              Good Faith Deposits of all Qualified Bidders consisting of cash shall be held in a
       non-interest bearing escrow account. Except for those of the Successful Bidder(s) and
       Backup Bidder(s), the Debtors shall promptly return the Good Faith Deposits of (i) all
       Qualified Bidders within two (2) Business Days after conclusion of the Auction; and (ii)
       the Backup Bidder after the Backup Bid Expiration Date.

        B.     Assumption and Assignment/Cure Procedures

       17.    To facilitate and effectuate the Sale, the Debtors may be required to assume and

assign certain contracts and leases (the “Assigned Contracts”) to the Successful Bidder or

Backup Bidder, as applicable. Given the number of executory contracts to which the Debtors are

a party, the Debtors seek to establish (a) procedures for determining Cure Amounts through the

closing date of the Sale, which amounts shall include all pre- and post-petition amounts the

Debtors owe the non-debtor party under each Assigned Contract that have accrued and not been

paid prior to the closing date, and (b) a deadline for any other objections to the assumption and

assignment of the Assigned Contracts, including, without limitation, adequate assurance of future

performance (collectively, the “Cure Procedures”).




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       18.      No later than three (3) Business Days after entry of the Bid Procedures Order, the

Debtors shall prepare and distribute to non-Debtor parties to the Assigned Contracts a notice,

substantially in the form annexed to the Bidding Procedures Order as Exhibit 3 (the “Notice of

Assignment and Assumption”), listing (i) the Assigned Contract(s); and (ii) the Cure

Amount(s), if any.

       19.      To facilitate a prompt resolution of cure disputes and objections relating to the

assumption and assignment of the Assigned Contracts, the Debtors propose the following

deadlines and procedures:

             a. The non-Debtor parties to the Assigned Contracts shall have until 4:00 p.m.
                (prevailing Eastern Time) on July 13, 2018 (the “Contract Objection
                Deadline”), which deadline may be extended in the discretion of the Debtors, to
                object (a “Contract Objection”) to (i) the Cure Amounts listed by the Debtors
                and to propose alternative Cure Amounts, and/or (ii) the proposed assumption and
                assignment of the Assigned Contracts in connection with the Sale. The Debtors
                may amend the Notice of Assignment and Assumption (each a “Supplemental
                Notice of Assignment and Assumption”) to add or remove a contract or lease or
                to reduce the Cure Amount thereof.

             b. The non-Debtor parties to the Assigned Contracts shall have until the
                commencement of the Sale Hearing to raise any objections to the adequate
                assurance of future performance by the Successful Bidder (the “Adequate
                Assurance Objection”).

             c. Any party objecting to (i) any Cure Amount and/or (ii) the proposed assumption
                and assignment of any Assigned Contract in connection with the Sale, shall file
                and serve a Contract Objection, in writing, setting forth with specificity, any and
                all cure obligations that the objecting party asserts must be cured or satisfied in
                respect of the Assigned Contract(s), as applicable, and/or any and all objections to
                the potential assumption and assignment of such agreements, together with all
                documentation supporting such claim or objection, upon counsel to the Debtors,
                so that the Contract Objection is received no later than 4:00 p.m. (prevailing
                Eastern Time), on the Contract Objection Deadline; provided that any
                Adequate Assurance Objection may be made at the Sale Hearing. Where a
                non-Debtor counterparty to an Assigned Contract files an objection asserting a
                cure amount higher than the proposed Cure Amount (the “Disputed Cure
                Amount”), then (a) to the extent the parties are able to consensually resolve the
                Disputed Cure Amount prior to the Sale Hearing, and subject to the written
                consent of the Successful Bidder or Backup Bidder, as applicable, of such



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                consensual resolution, the Cure Amount shall be revised to be the amount of the
                consensual resolution; (b) to the extent the parties are unable to consensually
                resolve the dispute prior to the Sale Hearing, then such objection will be heard at
                the Sale Hearing or such other date as agreed to by the parties; or (c) the
                Successful Bidder or Backup Bidder, as applicable, may remove the contract to
                which the Contract Objection relates from the schedule of Assigned Contracts.

             d. Unless a Contract Objection is filed and served before the Contract Objection
                Deadline or, with respect to any Adequate Assurance Objection, raised at the Sale
                Hearing, all counterparties to the Assigned Contracts shall be (i) forever barred
                from objecting to the proposed Cure Amounts and from asserting any additional
                cure or other amounts with respect to the Assigned Contracts, or any default or
                claim arising out of any indemnity obligation or warranties for acts or occurrences
                arising prior to or existing as of the closing of the Sale, including those
                constituting Excluded Liabilities, against the Purchaser, any counterclaim,
                defense, setoff, recoupment, claim of refund or any other claim asserted or against
                the Debtors, and the Debtors and the Successful Bidder or Backup Bidder, as
                applicable, shall be entitled to rely solely upon the proposed Cure Amounts set
                forth in the applicable Notice of Assignment and Assumption; (ii) deemed to have
                consented to the assumption and assignment; and (iii) forever barred and estopped
                from asserting or claiming against the Debtors or the Successful Bidder or Backup
                Bidder, as applicable, that any additional amounts are due or other defaults exist,
                that conditions to assignment must be satisfied under such Assigned Contracts,
                including, without limitation, any consent rights, or that there is any objection or
                defense to the assumption and assignment of such Assigned Contracts or
                imposing or charging against the Successful Bidder or Backup Bidder, as
                applicable, any rent accelerations, assignment fees, increases or any other fees as
                a result of the Debtors’ assumption and assignment to the Successful Bidder or
                Backup Bidder, as applicable, of any Assigned Contract in accordance with the
                Final Purchase Agreement.

             e. To the extent a non-Debtor party believes that an Assigned Contract requires such
                party’s consent right to the assignment of such Assigned Contract to the
                Successful Bidder or Backup Bidder, as applicable, such non-Debtor party must
                raise this issue in its objection which must be filed before the Contract Objection
                Deadline. If no timely objection is raised, such other non-Debtor parties to an
                Assigned Contract shall be barred and estopped from asserting or claiming that
                their Assigned Contract contains an enforceable consent right.

       C.       Notice Procedures

       20.      The Debtors request that the Court approve the following Notice Procedures in

connection with providing all parties in interest and Potential Bidders with notice of the Bid

Procedures, the Auction Date, the Sale Hearing, and the Debtors’ intent to assume and assign to



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the Successful Bidder or Backup Bidder the Assigned Contracts and the corresponding Cure

Amounts as follows:

          a. On or before three (3) Business Days after entry of the Bid Procedures Order, or
             as soon thereafter as such parties can be identified, the Debtors will cause (a) a
             notice in substantially the form annexed as Exhibit 2 to the Bid Procedures Order
             (the “Notice of Bid Procedures, Auction Date and Sale Hearing”); and (b) a
             copy of the Bid Procedures Order to be sent by first-class mail postage prepaid, to
             the following: (i) the Office of the United States Trustee; (ii) counsel to the DIP
             Lender and the First Lien Agent; (iii) counsel to the Second Lien Agent, (iv) all
             taxing authorities in the states where the Debtors are located, including the
             Internal Revenue Service, and all other federal, state and local taxing and
             regulatory authorities known to the Debtors to assert jurisdiction over the Debtors
             or which are reasonably expected by the Debtors to have claims, contingent or
             otherwise, in connection with the ownership of the Assets, or to have any known
             interest in the relief requested by the Motion; (v) all parties that have requested or
             that are required to receive special notice pursuant to Bankruptcy Rule 2002; (vi)
             all persons known or reasonably believed by the Debtors to have asserted any
             lien, claim, encumbrance, right of first refusal, or other interest in or upon any of
             the Assets; (vii) the non-Debtor parties to the Assigned Contracts; (viii) all
             persons known or reasonably believed to have expressed an interest in acquiring
             the Assets within the last four (4) months; (ix) the United States Attorney’s office;
             (x) Attorneys General in the states where the Debtors are located; (xi) any
             applicable state and local environmental agencies; (xii) the United States Bureau
             of Land Management; (xiii) the Colorado State Land Board; and (xiv) all parties
             to any litigation involving the Debtors.

          b. On or before three (3) Business Days after entry of the Bid Procedures Order, the
             Debtors will serve the Notice of Bid Procedures, Auction Date and Sale Hearing
             on all known creditors of the Debtors.

          c. On or before seven (7) days after entry of the Bid Procedures Order, subject to
             applicable submission deadlines, the Debtors will publish an abbreviated version
             of the Notice of Bid Procedures, Auction Date and Sale Hearing once in one or
             more regional and/or national publications that the Debtors deem appropriate.

          d. On or before three (3) Business Days after the entry of the Bid Procedures Order,
             the Debtors shall serve by first class mail or hand delivery, the Notice of
             Assumption and Assignment, substantially in the form attached to the Bid
             Procedures Order as Exhibit 3, on all non-Debtor parties to the Assigned
             Contracts. The Notice of Assumption and Assignment (or a Supplemental Notice
             of Assumption and Assignment) shall (i) identify the calculation of the Cure
             Amounts that the Debtors believe must be paid to cure all prepetition defaults
             under the Assigned Contracts, and (ii) provide instructions for the timing and
             procedure governing the filing of any objections to (a) the proposed Cure
             Amounts and (b) the proposed assumption and assignment of any Assigned


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                 Contract in connection with the Sale, as approved by the Bankruptcy Court in the
                 Bid Procedures Order. In addition, if the Debtors identify additional executory
                 contracts or unexpired leases that might be assumed by the Debtors and assigned
                 to the Successful Bidder or Backup Bidder, as applicable, that are not included in
                 the original Notice of Assumption and Assignment, the Debtors shall promptly
                 send a Supplemental Notice of Assumption and Assignment to the applicable
                 counterparties to such additional Assigned Contracts.

        21.      In addition to the foregoing, electronic notification of the Motion, the Bid

Procedures Order, the Notice of Bid Procedures, Auction Date and Sale Hearing, and the Notice

of Assumption and Assignment will be posted on: (i) the main case docket on the Bankruptcy

Court’s electronic case filing (ECF) website; and (ii) the case management website maintained

by    the     Debtors’    claims    and     noticing    agent,     JND     Corporate      Restructuring,     at

http://www.jndla.com/cases/sancilio.

        D.       The Proposed Sale

        22.      The Debtors also seek authority to sell the Assets to the Successful Bidder or

Backup Bidder, as appropriate. Pursuant to Local Rule 6004-1(iv), the Debtors highlight the

following terms contained the Purchase Agreements, which sets forth the Stalking Horse Bids

and serve as the baseline form for any Qualified Bids, as follows:

                 i.      Summary of MidCap Purchase Agreement4

MidCap Purchase
                                                            Summary Description
Agreement Provision
Del. Bankr. L.R. 6004-               The purchase price for the Purchased Assets (the “Purchase
1(b)(iv)                             Price”) shall be equal to the sum of: (a) a credit bid by the
                                     Purchaser or its designee of up to the full amount of the DIP
Purchase Price                       Obligations; (b) a credit bid by the Purchaser or its designee
                                     of up to the full amount of the Prepetition Obligations; (c) an
                                     amount necessary to satisfy the Assumed Liabilities (whether
                                     at Closing or thereafter in accordance with the provisions of
                                     this Agreement); and (d) cash, if any, in the amount of the

4 To the extent there is a conflict or discrepancy between this summary and the MidCap Purchase Agreement, the
MidCap Purchase Agreement shall govern in all respects. Capitalized terms used in the summary have the meanings
ascribed to them in the MidCap Purchase Agreement. All references to “Purchase Agreement §” refer to sections of
the MidCap Purchase Agreement.



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MidCap Purchase
                                                      Summary Description
Agreement Provision
                                difference between the sum of the consideration in clauses (a),
                                (b) and (c) of this Section 2.5 and the Purchaser’s last bid
                                submitted at, and accepted by, the Sellers at the Auction, if
                                any (the “Cash Amount”). Not later than two (2) Business
                                Days following the entry of the Bidding Procedures Order, the
                                Purchaser will confirm the then current dollar amount of the
                                Purchase Price (excluding the Cash Amount), which shall not
                                be less than $15,000,000, in writing to the Sellers, which
                                amount shall be subject to adjustment.

                                Purchase Agreement § 2.5.

Del. Bankr. L.R. 6004-          In accordance with the provisions of this Agreement and the
1(b)(iv)                        Sale Order, at the Closing, the Purchaser will assume and pay
                                or perform and discharge when due only the following
Material Term:                  Liabilities of the Sellers, in each case other than the Excluded
Assumed Liabilities             Liabilities, and no other Liabilities

                                Purchase Agreement § 2.3.

Del. Bankr. L.R. 6004-          Not applicable
1(b)(iv)(A)

Sale to Insider

Del. Bankr. L.R. 6004-          Not applicable except that the DIP Agent has agreed, subject
1(b)(iv)(B)                     to approval by the Bankruptcy Court, to certain key employee
                                incentive and key employee retention programs.
Agreements with
Management

Del. Bankr. L.R. 6004-          Not at this time
1(b)(iv)(C)

Releases

Del. Bankr. L.R. 6004-          Not applicable
1(b)(iv)(D)

Private Sale / No Competitive
Bidding

Del. Bankr. L.R. 6004-          The Purchase Agreement provides for the following
1(b)(iv)(E)                     milestones:


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MidCap Purchase
                                                   Summary Description
Agreement Provision

Closing and Other Deadlines         as promptly as possible, but in no event later than
                                     three (3) Business Days after the Petition Date, the
                                     Sellers shall cause the Bankruptcy Court to enter the
                                     Interim DIP Order;
                                    as promptly as possible, but in no event later than
                                     twenty-five (25) days after the Petition Date, the
                                     Sellers shall cause the Bankruptcy Court to enter the
                                     Bidding Procedures Order, which shall, among other
                                     things, require that the bid deadline for competing bids
                                     be scheduled for not later than twenty-five (25) days
                                     after entry of the Bidding Procedures Order;
                                    as promptly as possible, but in no event later than two
                                     (2) Business Days after the Petition Date, the Sellers
                                     shall file a motion in form and substance reasonably
                                     acceptable to the Purchaser seeking entry of the
                                     Bidding Procedures Order;
                                    as promptly as possible, but in no event later than one
                                     (1) Business Day after entry of the Bidding Procedures
                                     Order, the Sellers shall forward so-called “bid
                                     packages” to potential bidders, subject to the terms
                                     and conditions contained in the Bidding Procedures
                                     Order, including, without limitation, potential bidders
                                     being qualified and executing a reasonably acceptable
                                     confidentiality agreement;
                                    as promptly as possible, but in no event later than
                                     twenty-one (21) days after the Petition Date, the
                                     Sellers shall cause the Bankruptcy Court to enter the
                                     Final DIP Order;
                                    as promptly as possible, but in no event later than five
                                     (5) Business Days after completion of the Auction, the
                                     Sellers shall cause the Bankruptcy Court to enter the
                                     Sale
                                    Order;
                                    as promptly as possible, but in no event later than
                                     twelve (12) Business Days after entry of the Sale
                                     Order, the Sellers shall consummate the Closing,
                                     which in no event
                                    shall occur later than August 31, 2018

                              Purchase Agreement § 5.10.

Del. Bankr. L.R. 6004-        None
1(b)(iv)(F)


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MidCap Purchase
                                                 Summary Description
Agreement Provision

Good Faith Deposit

Del. Bankr. L.R. 6004-      None
1(b)(iv)(G)

Interim Arrangements with
Proposed Buyer

Del. Bankr. L.R. 6004-      The cash proceeds of the Sale, if any, with any liens, claims,
1(b)(iv)(H)                 interests and encumbrances to attach to such proceeds to same
                            extent, validity and priority as existed prior to the Petition
Use of Proceeds             Date, subject to the Carve Outs, will be paid to any creditors
                            in accordance with the priorities of their allowed claims, upon
                            further authorization from this Court as may be necessary or
                            appropriate.

Del. Bankr. L.R. 6004-      None
1(b)(iv)(I)

Tax Exemption

Del. Bankr. L.R. 6004-      For a period equal to the lesser of: (i) eighteen (18) months
1(b)(iv)(J)                 after the Closing Date; and (ii) the closing of the Chapter 11
                            Cases by the Bankruptcy Court, the Purchaser shall preserve
Record Retention            and retain, all corporate, accounting, legal, auditing, human
                            resources and other books and records in its possession that
                            are Purchased Assets (including any documents relating to
                            any governmental or non-governmental claims, actions, suits,
                            proceedings or investigations) relating to the operation of
                            Business and the Purchased Assets prior to the Closing Date.

                            Purchase Agreement § 10.14(a).

Del. Bankr. L.R. 6004-      All claims, rights, credits, causes of action, defenses and
1(b)(iv)(K)                 rights of set-off against Third Parties, including any
                            commercial tort claims and unliquidated rights under
Sale of Avoidance Actions   manufacturers’ and vendors’ warranties and any Chapter 5
                            Action and Claim related to the Purchased Assets, including
                            the Assumed Contracts and Receivables being purchased.

                            Purchase Agreement § 2.1(j).

Del. Bankr. L.R. 6004-      The MidCap Purchase Agreement provides for a “Sale Order”


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MidCap Purchase
                                                           Summary Description
Agreement Provision
1(b)(iv)(L)                          that finds and concludes, among other things, that the
                                     Purchaser will not be subject to successor liability for any
Successor Liability Findings         claims or causes of action of any kind or character against any
                                     Seller, whether known or unknown, unless expressly assumed
                                     as an Assumed Liability.

                                     Purchase Agreement, definition of “Sale Order”.

Del. Bankr. L.R. 6004-               Not applicable
1(b)(iv)(M)

Free-and-Clear Sale of
Unexpired Leases

Del. Bankr. L.R. 6004-               The MidCap Purchase Agreement provides for a credit bid as
1(b)(iv)(N)                          set forth in section 2.5 thereof.

Credit Bid

Del. Bankr. L.R. 6004-               The MidCap Purchase Agreement provides for a “Sale Order”
1(b)(iv)(O)                          that permits the Purchaser to waive, in its sole discretion, the
                                     14-day stay period under Rule 6004(h) of the Federal Rules of
Rule 6004(h) Relief                  Bankruptcy Procedure.

                                     Purchase Agreement, definition of “Sale Order”.


                 ii.     Summary of KD Purchase Agreement5

KD Purchase Agreement
                                                           Summary Description
Provision
Del. Bankr. L.R. 6004-               Subject to the terms and conditions hereof, the Buyer shall
1(b)(iv)                             provide consideration for the Purchased Assets in the amount
                                     of $2,500,000 plus or minus (as applicable) the Working
Purchase Price                       Capital Amount

                                     Purchase Agreement, § 3.01.

Del. Bankr. L.R. 6004-               Buyer will assume and pay to perform and discharge when


5 To the extent there is a conflict or discrepancy between this summary and the KD Purchase Agreement, the KD
Purchase Agreement shall govern in all respects. Capitalized terms used in the summary have the meanings
ascribed to them in the KD Purchase Agreement. All references to “Purchase Agreement §” refer to sections of the
KD Purchase Agreement.



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KD Purchase Agreement
                                                      Summary Description
Provision
1(b)(iv)                        due the following Liabilities of the Sellers, in each case other
                                than the Excluded Liabilities: (i) all Liabilities of any type
Material Term:                  attributable to or arising on or after Closing Date from
Assumed Liabilities             Buyer’s ownership and use of the Purchased Assets and the
                                Assumed Contracts, (ii) the Cure Amounts with respect to
                                each Assumed Contract, and (iii) the Accounts Payable.

                                Purchase Agreement, § 8.04.

Del. Bankr. L.R. 6004-          The Stalking Horse Bidder is not an insider within the
1(b)(iv)(A)                     meaning of section 101(31) of the Bankruptcy Code. As
                                noted, the KD Stalking Horse Bidder’s Chief Executive
Sale to Insider                 Officer served on the Board of Directors of the Debtors before
                                the Debtors’ acceptance of the KD Stalking Horse Bid.

Del. Bankr. L.R. 6004-          None. As noted, the KD Stalking Horse Bidder is a joint
1(b)(iv)(B)                     venture by which K.D. Pharma Bexbach GmbH is the
                                majority investor with a minority investment being made by
Agreements with                 both John Licari and Anthony Valetutti, current employees of
Management                      the Debtors and managers relating to the Ocean Blue Line. .

Del. Bankr. L.R. 6004-          None at this time
1(b)(iv)(C)

Releases

Del. Bankr. L.R. 6004-          Not applicable
1(b)(iv)(D)

Private Sale / No Competitive
Bidding

Del. Bankr. L.R. 6004-          Among other events of termination, the Purchase Agreement
1(b)(iv)(E)                     may be terminated:
                                      if the Bidding Procedures Order is not entered by the
Closing and Other Deadlines
                                       Bankruptcy Court on or by June 29, 2018; and
                                      by either the Buyer or the Sellers, if the Closing has
                                       not occurred on or prior to August 15, 2018, for any
                                       reason other than the breach of any provision of this
                                       Agreement by the Party terminating this Agreement.
                                Purchase Agreement, § 10.01.

Del. Bankr. L.R. 6004-          The Stalking Horse Bidder has provided a good faith deposit


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KD Purchase Agreement
                                                  Summary Description
Provision
1(b)(iv)(F)                 in the amount of $100,000.

Good Faith Deposit          Purchase Agreement, § 3.01(a).

Del. Bankr. L.R. 6004-      To the extent the Ocean Blue Line assets are intermingled
1(b)(iv)(G)                 with other of the Assets, the Debtors shall isolate such portion
                            of Ocean Blue Line assets and deliver same to the KD
Interim Arrangements with   Stalking Horse Bidder at Closing or as otherwise agreed by
Proposed Buyer              the Parties under the Transition Services Agreement

                            Purchase Agreement, § 2.01(a).

Del. Bankr. L.R. 6004-      The cash proceeds of the Sale, with any liens, claims, interests
1(b)(iv)(H)                 and encumbrances to attach to such proceeds to same extent,
                            validity and priority as existed prior to the Petition Date,
Use of Proceeds             subject to the Carve Outs, will be paid to any creditors in
                            accordance with the priorities of their allowed claims, upon
                            further authorization from this Court as may be necessary or
                            appropriate.

Del. Bankr. L.R. 6004-      None.
1(b)(iv)(I)

Tax Exemption

Del. Bankr. L.R. 6004-      With the exception of the books and records included in the
1(b)(iv)(J)                 definition of Excluded Assets below, all books, records and
                            accounts, correspondence, production records, technical,
Record Retention            accounting, manufacturing and procedural manuals, customer
                            lists, vendor lists, employment records, research material,
                            drawings, studies, reports or summaries of any operation,
                            present or former, and any information (including
                            Confidential Information) which has been reduced to writing
                            (including digital media) solely relating to the Purchased
                            Assets, whether by the Sellers or otherwise

                            Purchase Agreement, § 2.01(a)(x).

Del. Bankr. L.R. 6004-      All Chapter 5 Actions and Claims solely relating to the
1(b)(iv)(K)                 Business are transferred to the Buyer.

Sale of Avoidance Actions   Purchase Agreement, § 2.01(a)(ix).

Del. Bankr. L.R. 6004-      The KD Purchase Agreement provides for the Sale Order to


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KD Purchase Agreement
                                                       Summary Description
Provision
1(b)(iv)(L)                      find and conclude that the sale is free and clear of
                                 Encumbrances, including claims for successor liability under
Successor Liability Findings     any theory of Law or equity.

                                 Purchase Agreement, § 2.01(a).

Del. Bankr. L.R. 6004-           None.
1(b)(iv)(M)

Free-and-Clear Sale of
Unexpired Leases

Del. Bankr. L.R. 6004-           None, except that the KD Stalking Horse Bidder is permitted
1(b)(iv)(N)                      to “credit bid” its Termination Payment in any competitive
                                 bidding at the Auction.
Credit Bid
                                 Purchase Agreement, § 11.01.

Del. Bankr. L.R. 6004-           The KD Purchase Agreement provides that the Sale Order
1(b)(iv)(O)                      find and conclude that relief from the stay imposed by
                                 Bankruptcy Rule 6004(h) is appropriate.
Rule 6004(h) Relief
                                 Purchase Agreement, § 11.05(iv).

                                     Basis for Relief Requested

       A.      The Sale and the Bid Procedures Should Be
               Approved Based on the Sound Business Purpose Test.

       23.     Section 363(b)(1) of the Bankruptcy Code provides, in relevant part, that a

debtor-in-possession, “after notice and a hearing, may use, sell, or lease, other than in the

ordinary course of business, property of the estate.” 11 U.S.C. § 363(b)(l). Section 363 of the

Bankruptcy Code does not set forth a standard for determining when it is appropriate for a court

to authorize the sale or disposition of a debtor’s assets prior to confirmation of a plan. However,

courts in this Circuit and others have required that the decision to sell assets outside the ordinary

course of business be based upon the sound business judgment of the debtors. See In re Moore,

608 F.3d 253, 263 (5th Cir. 2010), Myers v. Martin (In re Martin), 91 F.3d 389, 395 (3d Cir.



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1996); Comm. of Equity Sec. Holders v. Lionel Corp. (In re Lionel Corp.), 722 F.2d 1063, 1071

(2d Cir. 1983); In re Decora Indus., Inc., 2002 WL 32332749, at *2 (D. Del. 2002); Dai-Ichi

Kangyo Bank, Ltd. v. Montgomery Ward Holding Corp., (In re Montgomery Ward Holding

Corp.), 242 B.R. 147, 153 (D. Del. 1999); In re Delaware & Hudson Ry. Co., 124 B.R. 169,

176 (D. Del. 1991).

         24.    In determining the propriety of the sale of assets by a chapter 11 debtor prior to

confirmation of a plan of reorganization, the Second and Sixth Circuits, as well as other courts,

have applied, among other factors required by section 363 of the Bankruptcy Code, a “sound

business purpose” test. See Stephens Indus., Inc. v. McClung, 789 F.2d 386, 390 (6th Cir. 1986);

In re Lionel Corp., 722 F.2d at 1070-71; see also Titusville Country Club v. Pennbank (In re

Titusville Country Club), 128 B.R. 396, 399 (Bankr. W.D. Pa. 1991). In In re Solar Mfg. Corp.,

the Third Circuit, pursuant to section 116(3) of the Bankruptcy Act of 1938 (the predecessor to

section 363 of the Bankruptcy Code), applied the stricter standards of “emergency” or

“perishability” on a proposed pre-confirmation sale of a chapter 11 debtor’s assets. 176 F.2d

493, 494-95 (3d Cir. 1949). Although the Third Circuit has not specifically addressed the

application of the “sound business purpose” test, in In re Abbots Dairies of Pa., Inc., 788 F.2d

143, 143 (3d Cir. 1986), where the Third Circuit examined a pre-confirmation sale of assets of

chapter 11 debtors, the Court did not mention the Solar decision, leading “other courts to [ ]

conclu[de] that the Third Circuit follows the ‘sound business purpose’ test rather than the

‘emergency’ rule”. See In re Titusville Country Club, 128 B.R. 396, 399 (Bankr. W.D. Penn.

1991).

         25.    The “sound business purpose” test requires a debtor to establish four elements in

order to justify the sale or lease of property outside the ordinary course of business, namely,




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(a) that a sound business reason justifies the sale of assets outside the ordinary course of

business, (b) that accurate and reasonable notice has been provided to interested persons, (c) that

the debtors have obtained a fair and reasonable price, and (d) good faith exists with respect to

the purchaser of the assets. Id.; In re Sovereign Estates, Ltd., 104 B.R. 702, 704 (Bankr. E.D.

Pa. 1989). A debtor’s showing of a sound business purpose need not be unduly exhaustive but,

rather, a debtor is “simply required to justify the proposed disposition with sound business

reasons.” In re Baldwin United Corp., 43 B.R. 888, 906 (Bankr. S.D. Ohio 1984); see also In re

Indus. Valley Refrigeration and Air Conditioning Supplies, Inc., 77 B.R. 15, 21 (Bankr. E.D. Pa.

1987). Whether or not there are sufficient business reasons to justify a transaction depends upon

the facts and circumstances of each case. In re Lionel, 722 F.2d at 1071; In re Montgomery

Ward Holding Corp., 242 B.R. at 155. The Debtors submit that the decision to proceed with the

approval of the Bid Procedures related to a potential sale is based upon their sound business

judgment and should be approved.

       26.     Additionally, section 105(a) of the Bankruptcy Code provides a bankruptcy court

with broad powers in the administration of a case under the Bankruptcy Code. Section 105(a)

provides that “[t]he court may issue any order, process, or judgment that is necessary or

appropriate to carry out the provisions of [the Bankruptcy Code].” 11 U.S.C. § 105(a). Provided

that a bankruptcy court does not employ its equitable powers to achieve a result not

contemplated by the Bankruptcy Code, the exercise of its section 105(a) power is proper. Matter

of Fesco Plastics Corp., Inc., 996 F.2d 152, 154 (7th Cir. 1993); Pincus v. Graduate Loan Ctr.

(In re Pincus), 280 B.R. 303, 312 (Bankr. S.D.N.Y. 2002). Pursuant to section 105(a), a court

may fashion an order or decree that helps preserve or protect the value of a debtor’s assets. See

Chinichian v. Campolongo (In re Chinichian), 784 F.2d 1440, 1443 (9th Cir. 1986) (“Section




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105 sets out the power of the bankruptcy court to fashion orders as necessary pursuant to the

purposes of the Bankruptcy Code.”); In re Cooper Props. Liquidating Trust, Inc., 61 B.R 531,

537 (Bankr. W.D. Tenn. 1986) (noting that “the Bankruptcy Court is one of equity and as such it

has a duty to protect whatever equities a debtor may have in property for the benefit of its

creditors as long as that protection is implemented in a manner consistent with the bankruptcy

laws.”).

       27.     The Debtors submit that sound business justification exists to sell the Assets to

the Successful Bidder pursuant to the Bid Procedures. The Debtors believe the Stalking Horse

Bids provide for a fair and reasonable consideration for the Assets. Critically, the Stalking Horse

Bids are subject to higher and better bids through the Bid Procedures. The Debtors, with the

assistance of their advisors, will conduct a thorough marketing process, which will determine the

value of the Assets and the highest and best bid. Moreover, as more fully set forth in the First

Day Declaration, marketing the Assets and conducting an Auction and Sale is a requirement of

the DIP Facility and the willingness of the DIP Lenders to provide post-petition financing and of

the Prepetition Secured Parties consent to the use of Cash Collateral. Thus, the relief request is

not only reasonable, but necessary, to maximize the value of the Debtors’ estates for the benefit

of their stakeholders.

       28.     The Debtors also believe that the proposed Bid Procedures are reasonably

designed to enable the Debtors to generate the highest value for the Assets. The proposed Bid

Procedures present a controlled, fair and open process that the Debtors believe will encourage

bidding only from seriously interested parties who possess the financial and operational capacity

to purchase the Assets. As such, the Bid Procedures promote the primary goal of maximizing the

value received by the estates.     Courts generally approve procedures that are intended to




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encourage competitive bidding and are consistent with the goal of maximizing the value received

by the estates. See In re John Joseph Edwards, 228 B.R. 552, 561 (Bankr. E.D. Pa. 1998)

(bidding procedures should facilitate an “open and fair” sale and be “designed to maximize value

for the estate”).

        29.     The Debtors submit that the implementation of the Bid Procedures, if approved,

will satisfy the prongs of the “sound business purpose” test. For purposes of prong one, the

Debtors seek to sell the Assets in order to garner value for the benefit of their estates. The

second prong of the “sound business purpose” test will be satisfied because the proposed Notice

Procedures are designed to provide adequate notice to all potentially interested parties, including

those who previously expressed an interest in purchasing the Assets. With respect to the third

prong, the Debtors intend to continue to market the Assets, to solicit interested bidders and to

conduct the Auction in a manner aimed at yielding an adequate price for the Assets. Finally, the

Bid Procedures incorporate a good faith requirement of all Qualified Bidders applicable at both

the commencement and conclusion of the Auction.

        30.     For all of these reasons, the proposed Bid Procedures are reasonable, appropriate

and within the Debtors’ sound business judgment. They provide the Debtors with the best

method for obtaining the maximum realizable value for the Assets. Thus, the Bid Procedures

should be approved.

        B.      The Relief Sought in the Bidding Procedures Order Is in the
                Best Interests of the Debtor's Estate and Should Be Approved.

        31.     The Debtors also seek authority to offer customary bid protections. The Debtors

have agreed to pay each Break-Up Fee and Expense Reimbursement to the applicable Stalking

Horse Bidder as an allowed administrative-expense priority claim (collectively, the “Bid

Protections”), if such Stalking Horse Bidder is not a Successful Bidder and the Debtors close a



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sale of the assets under the respective Purchase Agreement to another bidder or in the case of

certain breaches by the Debtors of the MidCap Purchase Agreement. The use of a stalking horse

in a public auction process for sales pursuant to section 363 of the Bankruptcy Code is a

customary practice in Chapter 11 cases, as the use of a stalking-horse bid is, in many

circumstances, the best way to maximize value in an auction process by “establish[ing] a

framework for competitive bidding and facilitat[ing] a realization of that value.” Official

Committee of Unsecured Creditors v. Interforum Holding LLC, 2011 WL 2671254, No. 11-219,

*1 (E.D. Wis . July 7, 2011). As a result, stalking horse bidders virtually always require break-up

fees and, in many cases, other forms of bidding protections as an inducement for “setting the

floor at auction, exposing its bid to competing bidders, and providing other bidders with access

to the due diligence necessary to enter into an asset purchase agreement.” Id. (internal citations

omitted). Thus, the use of bidding protections has become an established practice in chapter 11

cases.

         32.    Indeed, break-up fees and other forms of bidding protections are a normal and, in

many cases, a necessary component of significant sales conducted under section 363 of the

Bankruptcy Code: “Break-up fees are important tools to encourage bidding and to maximize the

value of the debtor's assets…. In fact, because the … corporation has a duty to encourage

bidding, break-up fees can be necessary to discharge [such] duties to maximize value.” In re

Integrated Resources, Inc., 147 B.R. 650, 659-60 (S.D.N.Y. 1992) (emphasis added).

Specifically, bid protections “may be legitimately necessary to convince a ‘white knight’ bidder

to enter the bidding by providing some form of compensation for the risks it is undertaking.” In

re 995 Fifth Ave. Associates, L.P., 96 B.R. 24, 28 (Bankr. S.D.N.Y. 1989) (quotations omitted);

see also Integrated Resources, 147 B.R. at 660-61 (bid protections can prompt bidders to




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commence negotiations and “ensure that a bidder does not retract its bid”); In re Hupp Int’I

Indus., Inc., 140 B.R. 191, 194 (Bankr. N.D. Ohio 1992) (“[W]ithout such fees, bidders would be

reluctant to make an initial bid for fear that their first bid will be shopped around for a higher bid

from another bidder who would capitalize on the initial bidder’s ... due diligence.”). As a result,

courts routinely approve such bidding protections in connection with proposed bankruptcy sales

where a proposed fee or reimbursement provides a benefit to the estate. See In re O 'Brien Envtl.

Energy, Inc., 181 F.3d 527 (3d Cir. 1999).

       33.     The Debtors believe that the allowance of the Bid Protections is in the best

interests of the Debtors’ estates and their creditors, as the Stalking Horse Bids will establish a

floor for further bidding that may increase the consideration given for the Assets. Here, the Bid

Protections are a critical component of the Stalking Horse Bidders’ commitment. The Stalking

Horse Bidders have expended time and resources negotiating, drafting, and performing due

diligence activities, despite the fact that its bid will be subject not only to Court approval, but

also to overbidding by third parties. The parties negotiated the requested Break-Up Fees in good

faith and at arm’s-length with significant give-and-take with respect to proposed Bid Protections.

As a result, by agreeing to the Bid Protections, the Debtors ensured that their estates would have

the benefit of the transactions with the Stalking Horse Bidders without sacrificing the potential

for interested parties to submit overbids at the Auction.

       34.     If the Court does not approve the Bid Protections, the Stalking Horse Bidders may

elect not to serve as the stalking horse with respect to the Assets under their respective Purchase

Agreement, to the detriment of the Debtors’ estates. Further, if the Bid Protections were to be

paid, it will likely be because the Debtor received higher or otherwise superior offers for the

Assets. In short, the proposed Bid Protections are fair and reasonable under the circumstances




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because the Break-Up Fee constitutes a “fair and reasonable percentage of the proposed purchase

price” and are “reasonably related to the risk, effort, and expenses of the prospective purchaser.”

Integrated Res., 147 B.R. at 662 (quoting 995 Fifth Ave., 96 B.R. at 28). Accordingly, the Bid

Protections should be approved.

       C.      The Cure Procedures in Connection with the Potential Assumption and
               Assignment of Assigned Contracts are Reasonable and Appropriate.

       35.     The Debtors believe that the proposed Cure Procedures in connection with the

potential assumption and assignment of an Assigned Contract are appropriate and reasonably

calculated to provide all non-Debtor parties to the Assigned Contracts with timely and proper

notice of the Debtors’ intent to assume and assign the Assigned Contracts. The Cure Procedures

provide the non-Debtor counterparties with an opportunity to challenge the assumption and

assignment of such Assigned Contracts either as to the proposed Cure Amount or as to the

assumption and assignment, in general. Therefore, the Debtors respectfully request the Court

approve the proposed Cure Procedures.

       D.      The Notice Procedures are Reasonable and Appropriate.

       36.     The Debtors believe that the proposed Notice Procedures are appropriate and

reasonably calculated to provide all interested parties with timely and proper notice of the

Auction, the Bid Procedures to be employed in connection therewith and the Sale Hearing

       37.     The Debtors further believe that the Notice of Assumption and Assignment is

reasonably calculated to provide all counterparties to the Assigned Contracts with proper notice

of the potential assumption and assignment of the applicable Assigned Contract and any Cure

Amount relating thereto.




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       38.     The Debtors submit that the proposed Notice Procedures comply with Bankruptcy

Rule 2002 and Local Rule 2002-1. Therefore, the Debtors believe that the Notice Procedures are

reasonable, appropriate and should be approved.

       E.      The Sale of the Assets Free and Clear of Liens and Other
               Interests Is Authorized by Section 363(f) of the Bankruptcy Code.

       39.     The Debtors further submit that it is appropriate to sell the Assets free and clear of

liens pursuant to section 363(f) of the Bankruptcy Code, with any such liens attaching to the cash

proceeds of the Assets to the extent applicable.         Section 363(f) of the Bankruptcy Code

authorizes a trustee to sell assets free and clear of liens, claims, interests and encumbrances if:

                       (1) applicable nonbankruptcy law permits the sale of such property free
                       and clear of such interests;

                       (2) such entity consents;

                       (3) such interest is a lien and the price at which such property is to be sold
                       is greater than the value of all liens on such property;

                       (4) such interest is in bona fide dispute; or

                       (5) such entity could be compelled, in a legal or equitable proceeding, to
                       accept a money satisfaction of such interest.

11 U.S.C. § 363(f).

       40.     Because section 363(f) of the Bankruptcy Code is drafted in the disjunctive,

satisfaction of any one of its five requirements will suffice to permit the sale of the Assets “free

and clear” of liens and interests. In re Dundee Equity Corp., 1992 Bankr. LEXIS 436, at *12

(Bankr. S.D.N.Y. March 6, 1992) (“[s]ection 363(f) is in the disjunctive, such that the sale free

of the interest concerned may occur if any one of the conditions of § 363(f) have been met.”);

Michigan Employment Sec. Comm’n v. Wolverine Radio Co. (In re Wolverine Radio Co.), 930

F.2d 1132, 1147 n.24 (6th Cir. 1991) (stating that Bankruptcy Code section 363(f) is written in




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the disjunctive; holding that the court may approve the sale “free and clear” provided at least one

of the subsections of Bankruptcy Code section 363(f) is met).

       41.     One or more of the subsections of section 363(f) are satisfied with respect to the

transfer of the Assets pursuant to the Purchase Agreements. In particular, the Debtors believe

that at least sections 363(f)(2) will be met in connection with the transactions proposed under the

Purchase Agreements because each of the parties holding liens on the Assets will consent or,

absent any objection to this motion, will be deemed to have consented to the Sale. Any

lienholder also will be adequately protected by having their liens, if any, in each instance against

the Debtors or their estate, attach to the sale proceeds ultimately attributable to the Assets in

which such creditor alleges an interest, in the same order of priority, with the same validity, force

and effect that such creditor had prior to the Sale, subject to any claims and defenses the Debtors

may possess with respect thereto. To the extent that any parties in interest holding liens against

the Assets do not consent to the Sale, the Debtors will seek approval of the Sale of the Assets

free and clear of any liens, claims, interests and encumbrances in accordance with any other

applicable provisions of section 363(f) of the Bankruptcy Code, including sections 363(f)(3) and

363(f)(5).

       42.     Based upon the evidence presented and argument to be made at the Sale Hearing,

the Debtors will seek entry of an order authorizing the sale of the Assets free and clear of any

liens, claims, interests and encumbrances.

       F.      Assumption and Assignment of Certain Executory
               Contracts and Unexpired Leases.

       43.     Section 365(a) of the Bankruptcy Code provides that, subject to court approval, a

trustee “may assume or reject any executory contracts or unexpired leases of the debtor.” 11

U.S.C. § 365(a). Upon finding that a debtor in possession has exercised its sound business



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judgment in determining to assume an executory contract or unexpired lease, courts will approve

the assumption under section 365(a) of the Bankruptcy Code. See Nostas Assocs. v. Costich (In

re Klein Sleep Prods., Inc.), 78 F.3d 18, 25 (2d Cir. 1996); Orion Pictures Corp. v. Showtime

Networks, Inc. (In re Orion Pictures Corp.), 4 F.3d 1095, 1099 (2d Cir. 1993).

       44.      Pursuant to section 365(f)(2) of the Bankruptcy Code, a trustee may assign an

executory contract or unexpired lease of nonresidential real property if:

             (A) the trustee assumes such contract or lease in accordance with the provisions of
                 this section; and

             (B) adequate assurance of future performance by the assignee of such contract or
                 lease is provided, whether or not there has been a default in such contract or
                 lease.

11 U.S.C. § 365(f)(2).

       45.      The meaning of “adequate assurance of future performance” depends on the facts

and circumstances of each case, but should be given “practical, pragmatic construction.” See

Carlisle Homes, Inc. v. Arrari (In re Carlisle Homes, Inc.), 103 B.R. 524, 538 (Bankr. D.N.J.

1989); see also In re Natco Indus., Inc., 54 B.R. 436, 440 (Bankr. S.D.N.Y. 1985) (adequate

assurance of future performance does not mean absolute assurance that debtor will thrive and pay

rent); In re Bon Ton Rest. & Pastry Shop, Inc., 53 B.R. 789, 803 (Bankr. N.D. Ill. 1985)

(“Although no single solution will satisfy every case, the required assurance will fall

considerably short of an absolute guarantee of performance.”).

       46.      At the Sale Hearing, the Debtors and the Successful Bidder will present evidence

regarding the ability of the Successful Bidder to perform the Assigned Contracts. Further, any

non-Debtor parties to the Assigned Contracts will have the opportunity to evaluate the showing

of adequate assurance by the Successful Bidder. In addition, the Successful Buyer will be

obligated to pay any cure costs due and owing to the non-Debtor parties to the Assigned



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Contracts. Therefore, based on the evidence presented and arguments made as the Sale Hearing,

the Debtors will seek approval to assume and assign the Assigned Contracts to the Successful

Bidder.

          G.     The Successful Bidder Should Be Entitled to the Protections
                 of a Good Faith Purchaser Under Section 363(m).
          47.    Section 363(m) states that:

                 The reversal or modification on appeal of an authorization under
                 [section 363(b)] . . . does not affect the validity of a sale . . . to an
                 entity that purchased . . . such property in good faith, whether or
                 not such entity knew of the pendency of the appeal, unless such
                 authorization and such sale were stayed pending appeal.

          48.    Section 363(m) of the Bankruptcy Code thus protects the purchaser of assets sold

pursuant to section 363 of the Bankruptcy Code from the risk that it will lose its interest in the

purchased assets if the order allowing the sale is reversed on appeal. By its terms, section

363(m) of the Bankruptcy Code applies to sales of interests in tangible assets, such as the Assets.

          49.    The selection of the Successful Bidder will be the product of arm’s length, good

faith negotiations between the Debtors and the various bidders and other parties in interest. As

such, the Debtors intend to request a finding that the Successful Bidder is a good faith purchaser

entitled to the protections of section 363(m) of the Bankruptcy Code. A finding of this nature

will protect the Successful Bidder in the event of an appeal, thereby making the sale process

more attractive to prospective bidders.

          H.     A Waiver of the Fourteen Day Waiting Period Under
                 Bankruptcy Rules 6004(h) and 6006(d) is Appropriate.

          50.    In order to facilitate the prompt disposition of the Assets, a waiver of the

provisions of Bankruptcy Rules 6004(h) and 6006(d) is appropriate. Bankruptcy Rule 6004(h)

provides that an “order authorizing the use, sale, or lease of property . . . is stayed until the

expiration of 14 days after entry of the order, unless the court orders otherwise.” Similarly,


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Bankruptcy Rule 6006(d) provides that an “order authorizing the trustee to assign an executory

contract or unexpired lease . . . is stayed until the expiration of 14 days after the entry of the

order, unless the court orders otherwise.” The Debtors request that the Order be effective

immediately by providing that the fourteen (14) day stays under Bankruptcy Rules 6004(h) and

6006(d) are waived.

       51.     The waiver of these provisions will result in a more rapid closing of the Sale,

thereby providing greater certainty to prospective Bidders and lessening the expense of the Sale

process. Accordingly, a waiver of these provisions is appropriate.

                                     Consent to Jurisdiction

       52.     Pursuant to Local Rule 9013-1(f), the Debtors consent to the entry of a final

judgment or order with respect to this Motion if it is determined that the Court would lack

Article III jurisdiction to enter such final order or judgment absent consent of the parties.

                                               Notice

       53.     Notice of this Motion has been given to the following parties or, in lieu thereof, to

their counsel, if known: (a) the Office of the United States Trustee for the District of Delaware;

(b) the DIP Agent and the DIP Lenders; (c) the Prepetition Secured Parties; (d) creditors holding

the twenty (20) largest unsecured claims as set forth in the consolidated list filed with the

Debtors’ petitions; (e) those parties requesting notice pursuant to Bankruptcy Rule 2002; (f) the

Office of the United States Attorney General for the District of Delaware; (g) the Internal

Revenue Service; (h) the non-Debtor parties to the Assigned Contracts; (i) all taxing authorities

in the states where the Debtors are located, including the Internal Revenue Service, and all other

federal, state and local taxing and regulatory authorities known to the Debtors to assert

jurisdiction over the Debtors or which are reasonably expected by the Debtors to have claims,




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contingent or otherwise, in connection with the ownership of the Assets, or to have any known

interest in the relief requested; (j) all persons known or reasonably believed by the Debtors to

have asserted any lien, claim, encumbrance, right of first refusal, or other interest in or upon any

of the Assets; (k) all persons known or reasonably believed to have expressed an interest in

acquiring the Assets within the last four (4) months; (l) Attorneys General in the states where the

Debtors are located; and (m) all parties to any litigation involving the Debtors.

                                         No Prior Request

          54.    No previous application for the relief sought herein has been made to this or any

other court.

                                            Conclusion

          55.    WHEREFORE, the Debtors respectfully request that this Court enter an order

granting the relief requested herein and granting such other and further relief as is just and

proper.

Dated: June 6, 2018                                   GREENBERG TRAURIG, LLP

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